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                             UNITED STATES DISTRICT COURT

                             MIDDLE DISTRICT OF LOUISIANA



   DAVID HSIEH CIVIL ACTION

  VERSUS

  BADGER OIL CORPORATION, ET NO. 19-00 40 8-BAJ-DPC
  AL.



                                        RULING AND ORDER

        Before the Court is Plaintiffs Motion To Dismiss Defendant Ensco Offshore

Company Without Prejudice (Doc. 123). Briefly stated, Plaintiff seeks to dismiss

Defendant ENSCO Offshore Company fENSCO") so that he may avoid the effect of

the stay entered in ENSCO's pending bankruptcy proceedings,1 and continue

prosecuting his claims against the remaining Defendants in this action.

        The fact of ENSCO's pending bankruptcy raises the question of whether the

automatic stay provision of 11 U.S.C. § 362 prohibits Plaintiff from voluntarily

dismissing his claims against ENSCO. Plaintiffs Motion does not address this issue,

but the Court's own research indicates a small consensus that dismissal is


appropriate, and does not interfere with the goals of Chapter 11, provided that

dismissal is either (1) voluntary, pursuant to Federal Rule of Civil Procedure ("Rule")

41(a)(l)(A)(i), or (2) by joint stipulation, pursuant to Rule 41(a)(l)(A)(ii). E.g., Sawyer

v. Jackson, 224 F. Supp. 3d 461, 462 (E.D. Va. 2016) (permitting plaintiff to




' See In re Valam PLC, ef al.. Case No. 20-34114 (S.D. Tex. Bankr.).
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voluntarily dismiss claims against bankrupt defendant under Rule 41(a)(l)(A)(i)

where defendant had not filed an answer or motion for summary judgment); Slay v.

Living Centers E., Inc., 249 B.R. 807, 807 (S.D. Ala. 2000) (same); see Chase

Manhattan Bank, N.A. v. Cehtex Corp,, 852 F. Supp. 226, 228 (S.D.N.Y. 1994)


(permitting parties to stipulate to dismissal of plaintiffs claims under Rule

41(a)(l)(A)(ii)).

       Here, Plaintiff does not identify the Rule authorizing the relief he seeks.

Plaintiff cannot voluntarily dismiss ENSCO under Rule 41(a)(l)(A)(i), however,

because ENSCO has served an answer to Plaintiffs complaint. (See Doc. 26). Further,

Rule 41(a)(l)(A)(ii) cannot afford Plaintiff the relief he seeks because ENSCO has not

stipulated to dismissal. (See Doc. 123).

       This leaves Rule 41(a)(2), which provides, in relevant part, "Except as provided

in Rule 41(a)(l), an action may be dismissed at the plaintiffs request only by court

order, on terms that the court considers proper." Here, Plaintiff proposes to dismiss


ENSCO without prejudice, with each party to bear its own costs. Yet, Plaintiff fails

to provide any authority allowing the Court to unilaterally dismiss Plaintiffs action

on these terms, consistent with the requirements of the Bankruptcy Code. Further,


without any indication from ENSCO regarding whether it agrees to dismissal on

these terms, the Court cannot assess whether the relief Plaintiff requests is proper.


       Accordingly,

       IT IS ORDERED that Plaintiffs Motion is DENIED WITHOUT

PREJUDICE, subject to Plaintiffs right to resubmit his Motion in a form that
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addresses the deficiencies outlined herein.


      IT IS FURTHER ORDERED that Plaintiffs Unopposed Joint Motion To Lift

The Stay On This Matter And For Extension Of Time (Doc. 121) is DENIED

WITHOUT PREJUDICE, pending ENSCO's continued participation in this action.

                           Baton Rouge, Louisiana, this ' day of November, 2020




                                                   '^




                                       JUDGE BRIAK A. JACKSON
                                       UNITED STATES'DISTRICT COURT
                                       MIDDLE DISTRICT OF LOUISIANA
